                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA


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 Angela Davis, individually and on behalf of all others
 similarly situated
                            Plaintiff,                                      C.A. No.:


                                                                            CLASS ACTION COMPLAINT


          -against-                                                         DEMAND FOR JURY TRIAL

 Medical Data Systems, Inc., t/a Medical Revenue Services,
 Inc. (“Medical Revenue Service”)
 and John Does 1-25

                            Defendant(s).
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        Plaintiff Angela Davis (hereinafter, “Plaintiff”), a North Carolina resident, brings this Class

Action Complaint by and through her attorneys, against Defendant Medical Data Systems, Inc.,

t/a Medical Revenue Services, Inc. (“Medical Revenue Service”) (hereinafter “Defendant

MRS”),individually and on behalf of a class of all others similarly situated, pursuant to Rule 23 of

the Federal Rules of Civil Procedure, based upon information and belief of Plaintiff’s counsel,

except for allegations specifically pertaining to Plaintiff, which are based upon Plaintiff's personal

knowledge.

                                              INTRODUCTION

        1.       Congress enacted the Fair Debt Collection Practices Act (the “FDCPA” or the

    “Act”) in 1977 in response to the "abundant evidence of the use of abusive, deceptive, and

    unfair debt collection practices by many debt collectors." 15 U.S.C. §1692(a). At that time,

    Congress was concerned that "abusive debt collection practices contribute to the number of



       Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 1 of 12
personal bankruptcies, to material instability, to the loss of jobs, and to invasions of individual

privacy." Id. Congress concluded that "existing laws…[we]re inadequate to protect

consumers," and that "'the effective collection of debts" does not require "misrepresentation or

other abusive debt collection practices." 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). After

determining that the existing consumer protection laws ·were inadequate. Id § l692(b),

Congress gave consumers a private cause of action against debt collectors who fail to comply

with the Act. Id. § 1692k.

                               JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over any state law claims in this

action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this

is where a substantial part of the events or omissions giving rise to the claim occurred.

                                 NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of North Carolina consumers

under § 1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair

Debt Collections Practices Act ("FDCPA"), and

   6.      Plaintiff is seeking damages and declaratory relief.




  Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 2 of 12
                                             PARTIES

   7.      Plaintiff is a resident of the State of North Carolina, County of Mecklenburg,

residing at 10220 Footsman Place, Cornelius, NC 28031.

   8.      Defendant MRS is a "debt collector" as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA with an address at 2001 9th Ave, Suite 312, Vero Beach,

FL 32960 and has its registered agent Corporation Service Company at 1201 Hays Street,

Tallahassee, FL 32301.

   9.      Upon information and belief, Defendant MRS is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

   10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery

and should be made parties to this action.

                                    CLASS ALLEGATIONS

   11.     Plaintiff brings this claim on behalf of the following class, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   12.     The Class consists of:

           a. all individuals with addresses in the State of North Carolina;

           b. to whom Defendant MRS sent an initial collection letter attempting to collect a

               consumer debt;

           c. that contains contradictory and deceptive statements regarding the process for

               disputing the debt;




  Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 3 of 12
            d. which letter was sent on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (21) days after the filing of this action.

   13.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   15.      There are questions of law and fact common to the Plaintiff Class, which are

common issues that predominate over any issues involving only individual class members. The

principal issue is whether the Defendants' written communications to consumers, in the forms

attached as Exhibits A, violate 15 U.S.C. §§ 1692e and 1692g.

   16.      The Plaintiff’s claims are typical of the class members, as all are based upon the

same facts and legal theories. The Plaintiff will fairly and adequately protect the interests of

the Plaintiff Class defined in this Complaint. The Plaintiff has retained counsel with experience

in handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

nor her attorneys have any interests, which might cause them to not vigorously pursue this

action.

   17.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is

a well-defined community interest in the litigation:




  Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 4 of 12
      a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

         that the Plaintiff Class defined above is so numerous that joinder of all members

         would be impractical.

      b. Common Questions Predominate: Common questions of law and fact exist

         as to all members of the Plaintiff Class and those questions predominate over

         any questions or issues involving only individual class members. The principal

         issue is whether the Defendants' written communications to consumers, in the

         forms attached as Exhibit A violate 15 § l692e and §1692g.

      c. Typicality: The Plaintiff’s claims are typical of the claims of the class

         members. The Plaintiff and all members of the Plaintiff Class have claims

         arising out of the Defendants' common uniform course of conduct complained

         of herein.

      d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

         class members insofar as Plaintiff has no interests that are adverse to the absent

         class members. The Plaintiff is committed to vigorously litigating this matter.

         Plaintiff has also retained counsel experienced in handling consumer lawsuits,

         complex legal issues, and class actions. Neither the Plaintiff nor her counsel

         have any interests which might cause them not to vigorously pursue the instant

         class action lawsuit.

      e. Superiority: A class action is superior to the other available means for the fair

         and efficient adjudication of this controversy because the individual joinder of

         all members would be impracticable. Class action treatment will permit a large

         number of similarly situated persons to prosecute their common claims in a




Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 5 of 12
                single forum efficiently and without unnecessary duplication of effort and

                expense that individual actions would engender.

   18.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff

Class predominate over any questions affecting an individual member. A class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   19.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).

                                  FACTUAL ALLEGATIONS

   20.     Plaintiff repeats, reiterates and incorporates the allegations contained in the

foregoing paragraphs with the same force and effect as if the same were set forth at length

herein.

   21.     Some time prior to October 17 2019, an obligation was allegedly incurred to

Lakeside Family Physicians, Pediatric Gastroenterology, and Huntersville Medical Center.

   22.     The Lakeside Family Physicians, Pediatric Gastroenterology, and Huntersville

Medical Center obligation arose out of a transaction involving a debt incurred by Plaintiff

which Plaintiff incurred primarily for personal, family or household purposes, specifically

medical debt.

   23.     The alleged Lakeside Family Physicians, Pediatric Gastroenterology, and

Huntersville Medical Center obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

   24.     Lakeside Family Physicians, Pediatric Gastroenterology, and Huntersville Medical

Center are "creditor(s)" as defined by 15 U.S.C.§ 1692a(4).




  Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 6 of 12
     25.      On a date better known to Defendants, Lakeside Family Physicians, Pediatric

Gastroenterology, and Huntersville Medical Center contracted with Defendant MRS to collect

the alleged debt.

     26.      Defendants collect and attempt to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.

                              Violation – October 17, 2019 Collection Letter

     27.      On or about October 17, 2019, Defendant MRS sent Plaintiff a collection letter (the

“Letter”) regarding the alleged debt owed to Lakeside Family Physicians, Pediatric

Gastroenterology, and Huntersville Medical Center. The Letter is attached hereto as Exhibit

A.

     28.      When a debt collector solicits payment from a consumer, it must, within five days

of an initial communication, provide the consumer with a written validation notice, known as

a “G notice,” which must include the following information:

           (1) the amount of the debt;

           (2) the name of the creditor to whom the debt is owed;

           (3) a statement that unless the consumer, within thirty days after receipt of the notice,

     disputes the validity of the debt, or any portion thereof, the debt will be assumed to be valid

     by the debt collector;

           (4) a statement that if the consumer notifies the debt collector in writing within the

     thirty-day period that the debt, or any portion thereof, is disputed, the debt collector will

     obtain verification of the debt or a copy of the judgment against the consumer and a copy

     of such verification or judgment will be mailed to the consumer by the debt collector; and




     Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 7 of 12
         (5) a statement that, upon the consumer's written request within the thirty-day period,

   the debt collector will provide the consumer with the name and address of the original

   creditor, if different from the current creditor. 15 U.S.C. § 1692g(a). (emphasis added)

   29.      The letter contains the required “G-Notice.”

   30.      Below the paragraphs containing the “G-Notice,” the letter states: “In order to

respect these important rights provided under the Fair Debt Collection Practices Act, this office

will provide the above rights, whether you provide notice of your dispute orally or in writing,

within 30 days from receiving this notice.”

   31.      This statement is a direct contradiction to the statements in the G- Notice that

requires disputes to be in writing to obtain verification of the debt, or to be provided with the

name and address of the original creditor.

   32.      The consumer is confused and misled because the letter states that certain disputes

must be in writing and then contradicts itself one paragraph later.

   33.      Defendant RMS could have easily clarified to the consumer that all disputes can be

either in writing or orally instead of stating contradictory information in two separate

paragraphs.

   34.      This false and inaccurate portion of the Letter is deceptive and misleading because

it fails to advise Plaintiff of the proper method for exercising her validation rights under the

FDCPA.

   35.      Plaintiff sustained an informational injury as she was not fully apprised of her rights

and responsibilities necessary to properly exercise her options under §1692g.

   36.      Plaintiff effectively waived her rights to this statutorily available information

because she was not properly informed of the “G-Notice” requirements set forth in the FDCPA.




  Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 8 of 12
     37.     As a result of Defendant’s deceptive misleading and false debt collection practices,

  Plaintiff has been damaged.

                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     38.     Plaintiff repeats, reiterates and incorporates the allegations contained in the

  foregoing paragraphs with the same force and effect as if the same were set forth at length

  herein.

     39.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

     40.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

     41.     Defendant violated said section by:

             a. Making a false and misleading representation in violation of §1692e(10).

     42.     Due to the fact that Defendant's conduct violated Section 1692e et seq. of the

  FDCPA, Defendant is liable to Plaintiff for actual damages, statutory damages, costs and

  attorneys’ fees.

                                COUNT II
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                               §1692g et seq.

     43.     Plaintiff repeats, reiterates and incorporates the allegations contained in in the

  foregoing paragraphs with the same force and effect as if the same were set forth at length

  herein.

     44.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.




    Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 9 of 12
   45.      Pursuant to 15 U.S.C. §1692g, when a debt collector solicits payment from a

consumer, it must, within five days of an initial communication, provide the consumer with a

written validation notice, known as the “G Notice,” which must include the following

information:

         (1) the amount of the debt;

         (2) the name of the creditor to whom the debt is owed;

         (3) a statement that unless the consumer, within thirty days after receipt of the notice,

   disputes the validity of the debt, or any portion thereof, the debt will be assumed to be valid

   by the debt collector;

         (4) a statement that if the consumer notifies the debt collector in writing within the

   thirty-day period that the debt, or any portion thereof, is disputed, the debt collector will

   obtain verification of the debt or a copy of the judgment against the consumer and a copy

   of such verification or judgment will be mailed to the consumer by the debt collector; and

         (5) a statement that, upon the consumer's written request within the thirty-day period,

   the debt collector will provide the consumer with the name and address of the original

   creditor, if different from the current creditor. 15 U.S.C. § 1692g(a).

   46.      Defendant violated this section by deceptively misrepresenting the requirements of

§§1692g(a)(4) and (5) in omitting the requirement that the consumer must dispute or request

information in writing as required under the FDCPA.

   47.      Plaintiff sustained an informational injury as she was wrongfully misinformed

regarding making a dispute in writing.

   48.      Plaintiff was harmed due to the fact that she was misled by confusing and

contradictory information regarding making a dispute in writing or orally.




 Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 10 of 12
       49.     Due to the fact that Defendant's conduct violated Section 1692g et seq. of the

   FDCPA, Defendant is liable to Plaintiff for actual damages, statutory damages, costs and

   attorneys’ fees.

                                    DEMAND FOR TRIAL BY JURY

       50.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

   requests a trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Angela Davis, individually and on behalf of all others similarly

   situated, demands judgment from Defendant MRS as follows:

       1.      Declaring that this action is properly maintainable as a Class Action and certifying

   Plaintiff as Class representative, and Randolph Emory, Esq. as Class Counsel;

       2.      Awarding Plaintiff and the Class statutory damages;

       3.      Awarding Plaintiff and the Class actual damages;

       4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

       5.      Awarding pre-judgment interest and post-judgment interest; and

       6.      Awarding Plaintiff and the Class such other and further relief as this Court may

   deem just and proper.

Dated: September 30, 2020

                                                        /s/ Randolph Emory
                                                        C. Randolph Emory
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    Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 11 of 12
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Case 3:20-cv-00546-MOC-DSC Document 1 Filed 09/30/20 Page 12 of 12
